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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
In re:
Brenda M. Fletcher                                                  Case No.:     1:11-bk-21424
Debtor                                                                     Chapter 13
___________________________________

Brenda M. Fletcher
Plaintiff                                                           Adversary Proceeding No.:
vs.                                                                        19-ap-00218
U.S. Bank, National Association, et al.

Defendants
*     *                 *             *   *    *    *    *    *    *    *                  *
                                      MOTION TO MODIFY SCHEDULING ORDER

            Plaintiff, Brenda M. Fletcher, moves to modify the Scheduling Order entered July 28,

2022 [Doc. 158] to extend the time for production of an expert witness report, depositions of

expert witnesses, and the deposition of Defendants, stating:

            1.          The Scheduling Order sets a discovery deadline of July 29, 2022.

            2.          Plaintiff propounded requests for production on Defendants on February 22, 2021

and second requests for production together with interrogatories, requests for admission and

request for statements on December 7, 2021.

            3.          In response to the requests for production and interrogatories, Defendants have

produced several different partial loan history documents, none of which are in native format or

reflect all transaction dates rather than “effective” dates.            This deficiency is a subject of

Plaintiff’s Motion to Compel [Doc. 144] and Amended Motion to Compel [Doc. 145] scheduled

for hearing on August 29, 2022.

            4.          Defendants have made a number of responses and supplemental responses to

Plaintiff’s requests, with the latest served on June 7, 2022. However, Plaintiff has not produced

a complete transaction history in transaction date or native format.
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       5.      Plaintiff identified Bernard Jay Patterson, CFE as her expert witness on May 3,

2022 in a Supplemental Response to Interrogatories, attached as Exhibit A. The Supplemental

Response included Mr. Patterson’s curriculum vitae and case and publication history.

       6.      Mr. Patterson is performing a mortgage loan reconstruction of Ms. Fletcher’s

mortgage account. Due to the deficiencies in Defendants’ production, he is required to reverse-

engineer the data produced in a tedious and time-consuming process. See Declaration of Bernard

Jay Patterson, attached as Exhibit B.

       7.      Due to the deficiencies in Defendants’ production, Mr. Patterson has been unable

to finalize his expert report and opinion as of the date hereof. He has, however, attached his

analysis to date to the attached affidavit, and has provided other analysis of Ms. Fletcher’s

account in his Declaration dated July 25, 2022, attached as Exhibit C.

       8.      Plaintiff anticipates that Mr. Patterson will complete his report no later than

September 2, 2022, and will be available for deposition at Defendants’ request.

       9.      Plaintiff has not conducted the deposition of Defendants prior to a ruling on her

Motion to Compel. A deposition based on incomplete production would not be an efficient use

of the parties resources.

       10.     Plaintiff requests that the scheduling order be modified to permit production of

Mr. Patterson’s expert witness report through and including September 2, 2022, and the taking of

depositions of Defendants and Mr. Patterson through and including September 12, 2022.

       11.     No party will be prejudiced by the modifications sought herein.
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          WHEREFORE, Plaintiff requests that the scheduling order be modified as requested

herein.

                                                      /s/ Wendell Finner
                                                      Wendell Finner, Fed. Bar. No. 04379
                                                      Wendell Finner PC
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                                       CERTIFICATE OF SERVICE

                 I hereby certify that the foregoing was sent electronically by the ECF system this
          29th day of July, 2022, to Edward Chang, Esquire, attorney for Defendants.

                                                      /s Wendell Finner
